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3                                UNITED STATES DISTRICT COURT
4                                       DISTRICT OF NEVADA
5     ANTHONY BUTLER,                                     Case No. 3:20-cv-00560-MMD-WGC
6                                        Petitioner,                      ORDER
              v.
7
      W. GITTERE, et al.,
8
                                     Respondents.
9

10          Petitioner Anthony Butler, a Nevada state prisoner, has submitted a pro se Petition
11   for Writ of Habeas Corpus (ECF No. 1-1) under 28 U.S.C. § 2254. This habeas matter is
12   before the Court on Butler’s Application to Proceed In Forma Pauperis (“IFP”) (ECF No. 1).
13   For the reasons discussed below, orders Butler to resolve the filing fee.
14          Under 28 U.S.C. § 1914(a) and the Judicial Conference Schedule of Fees, a $5.00
15   filing fee is required to initiate a habeas action in a federal district court. Indigent prisoners
16   who do not have money to pay the $5.00 filing fee may request IFP status to waive the
17   fee. A federal district court may authorize a person to begin an action without prepaying
18   fees and costs if the person submits an IFP application on the approved form along with
19   the appropriate supporting documentation. See 28 U.S.C. § 1915(a); LSR 1-1, LSR 1-2.
20          Although Butler submitted the required form, the supporting documents show he is
21   able to pay the $5.00 filing fee. Thus, Butler does not qualify for a fee waiver. The Court
22   therefore denies his IFP application. Butler will have 45 days to pay the $5.00 filing fee.
23          It is therefore ordered that Petitioner Anthony Butler’s Application to Proceed In
24   Forma Pauperis (ECF No. 1) is denied.
25          It is further ordered that Butler must pay the $5.00 fee by November 30, 2020.
26          The Clerk of Court is instructed to MAIL Butler two copies of this order. Butler must
27   make the necessary arrangements to have a copy of this order attached to the check for
28   the filing fee.
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1           It is further ordered that the initial screening of Butler’s Petition for Writ of Habeas

2    Corpus (ECF No. 1-1) under the Rules Governing Section 2254 Cases and consideration

3    of the Motion for Appointment of Counsel (ECF No. 1-2) are deferred to until such time as

4    he has fully complied with this order.

5           Butler’s failure to timely comply with this order will result in the dismissal of this

6    action without further advance notice.

7           DATED THIS 16th Day of October 2020.

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                                                MIRANDA M. DU
11                                              CHIEF UNITED STATES DISTRICT JUDGE

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